




Dismissed and Memorandum Opinion filed June 18, 2009








Dismissed
and Memorandum Opinion filed June 18, 2009.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00326-CV

____________

&nbsp;

TRENT ALVON SMITH,
Appellant

&nbsp;

V.

&nbsp;

DAVID WEEKS, ET AL.,
Appellees

&nbsp;



&nbsp;

On Appeal from the 12th District
Court

Walker County, Texas

Trial Court Cause No.
23,922

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; O P I N I O N

This
appeal is from a judgment signed February 24, 2009.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 








On May
15, 2009, notification was transmitted to all parties of the Court's intent to
dismiss the appeal for want of prosecution unless, within fifteen days,
appellant paid or made arrangements to pay for the record and provided this
court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant
has not provided this court with proof of payment for the record. Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Panel consists of Justices Anderson, Guzman, and
Boyce. 

&nbsp;





